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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

PIERRE FONTAINE, Individually and on            Case No:
behalf of all others similarly situated,
                                                CLASS ACTION COMPLAINT
                    Plaintiff,                  FOR VIOLATIONS OF THE
                                                FEDERAL SECURITIES
      v.                                        LAWS

ELECTRIC LAST MILE SOLUTIONS,                   JURY TRIAL DEMANDED
INC. F/K/A FORUM MERGER III CORP.,
JAMES TAYLOR, JASON LUO, DAVID
BORIS, MARSHALL KIEV, ALBERT LI,
and ROBERT SONG,

                    Defendants.




      Plaintiff Pierre Fontaine (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon

personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and

belief as to all other matters, based upon, inter alia, the investigation conducted by

and through his attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by

Defendants, public filings, wire and press releases published by and regarding

Electric Last Mile Solutions, Inc. and its predecessor company Forum Merger III


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Corp. (“ELMS,” “FIIU,” or the “Company”), and information readily obtainable

on the Internet. Plaintiff believes that substantial evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery.

                            NATURE OF THE ACTION
       1.    This is a class action on behalf of persons or entities who purchased or

otherwise acquired ELMS and/or FIIU securities, between November 12, 2020 and

February 1, 2022, inclusive (the “Class Period”). Plaintiff seeks to recover

compensable damages caused by Defendants’ violations of the federal securities

laws under the Securities Exchange Act of 1934 (the “Exchange Act”).

                           JURISDICTION AND VENUE
       2.    The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

       3.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.

§78aa).

       4.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)

and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged

misstatements entered and the subsequent damages took place in this judicial

district.



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      5.     In connection with the acts, conduct and other wrongs alleged in this

complaint, Defendants, directly or indirectly, used the means and instrumentalities

of interstate commerce, including but not limited to, the United States mails,

interstate telephone communications and the facilities of the national securities

exchange.

                                     PARTIES

      6.     Plaintiff, as set forth in the accompanying certification, incorporated

by reference herein, purchased ELMS securities during the Class Period and was

economically damaged thereby.

      7.     ELMS purports to be a pure-play commercial electric vehicle

company. On June 25, 2021, Electric Last Mile, Inc. and Forum Merger III Corp.,

a special purpose acquisition company (“SPAC”) or blank check company, closed

the merger (the “Merger”) which resulted in ELMS.

      8.     The Company is incorporated in Delaware and its head office is located

at 1055 W. Square Lake Road, Troy, MI, 48098. ELMS’s common stock trades on

the NASDAQ under the ticker symbol “ELMS” and ELMS’s warrants trade on the

NASDAQ under the ticker symbol “ELMSW.” Prior to the Merger, the Company’s

securities traded on the NASDAQ under the ticker symbols “FIII,” “FIIIU,” and

“FIIIW.”




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      9.     Defendant James Taylor (“Taylor”) served as the Company’s Chief

Executive Officer (“CEO”) following the Merger until February 1, 2022. Prior to

the Merger, Defendant Taylor was Electric Last Mile, Inc.’s co-founder and CEO.

      10.    Defendant Jason Luo (“Luo”) served as the Company’s Executive

Chairman following the Merger until February 1, 2022. Prior to the Merger,

Defendant Luo was Electric Last Mile, Inc.’s co-founder and Executive Chairman.

      11.    Defendant David Boris (“Boris”) served as the Company’s Co-Chief

Executive Officer (“Co-CEO”), Chief Financial Officer (“CFO”), and as a Director

at all relevant times prior to the Merger and continues to serve as a Director of

ELMS.

      12.    Defendant Marshall Kiev (“Kiev”) served as the Company’s Co-CEO

at all relevant times prior to the Merger.

      13.    Defendant Albert Li (“Li”) served as the Company’s CFO from June

2021 through November 2021.

      14.    Defendant Robert Song (“Song”) has served as the Company’s CFO

and Treasurer since November 2021.

      15.    Defendants Taylor, Luo, Boris, Kiev, Li, and Song are collectively

referred to herein as the “Individual Defendants.”

      16.    Each of the Individual Defendants:

             (a)    directly participated in the management of the Company;


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             (b)   was directly involved in the day-to-day operations of the

Company at the highest levels;

             (c)   was privy to confidential proprietary information concerning

the Company and its business and operations;

             (d)   was directly or indirectly involved in drafting, producing,

reviewing and/or disseminating the false and misleading statements and

information alleged herein;

             (e)   was directly or indirectly involved in the oversight or

implementation of the Company’s internal controls;

             (f)   was aware of or recklessly disregarded the fact that the false

and misleading statements were being issued concerning the Company; and/or

             (g)   approved or ratified these statements in violation of the federal

securities laws.

      17.    The Company is liable for the acts of the Individual Defendants and its

employees under the doctrine of respondeat superior and common law principles

of agency because all of the wrongful acts complained of herein were carried out

within the scope of their employment.

      18.    The scienter of the Individual Defendants and other employees and

agents of the Company is similarly imputed to the Company under respondeat

superior and agency principles.


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      19.    The Company and the Individual Defendants are collectively referred

to herein as “Defendants.”

                           SUBSTANTIVE ALLEGATIONS

                          Materially False and Misleading
                     Statements Issued During the Class Period

      20.    On November 12, 2020, the first day of the Class Period, the

Company filed with the SEC its quarterly report for the period ended September

30, 2020 (the “3Q20 Report”) signed by Defendants Kiev and Boris. Attached to

the 3Q20 Report were certifications pursuant to SOX signed by Defendants Kiev

and Boris attesting to the accuracy of financial reporting, the disclosure of any

material changes to the Company’s internal control over financial reporting and the

disclosure of all fraud.

      21.    The 3Q20 Report contained the following financial statements:




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      22.    On March 31, 2021, the Company filed with the SEC its annual report

for the year ended December 31, 2020 (the “2020 Annual Report”) signed by

Defendant Boris. Attached to the 2020 Annual Report were certifications pursuant

to the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants Kiev and Boris

attesting to the accuracy of financial reporting, the disclosure of any material

changes to the Company’s internal control over financial reporting and the

disclosure of all fraud.

      23.    The 2020 Annual Report contained the following financial statements:




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      24.    On May 7, 2021, the Company filed with the SEC an amendment to

its 2020 Annual Report on Form 10-K/A (the “2020 Amendment”) signed by

Defendant Boris. Attached to the 2020 Amendment were certifications pursuant to

SOX signed by Defendants Kiev and Boris attesting to the accuracy of financial

reporting, the disclosure of any material changes to the Company’s internal control

over financial reporting and the disclosure of all fraud.

      25.    The 2020 Amendment contained the following financial statements:




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      26.    On May 26, 2021, the Company filed with the SEC its quarterly report

for the period ended March 31, 2021 (the “1Q21 Report”) signed by Defendants

Kiev and Boris. Attached to the 1Q21 Report were certifications pursuant to SOX

signed by Defendants Kiev and Boris attesting to the accuracy of financial reporting,

the disclosure of any material changes to the Company’s internal control over

financial reporting and the disclosure of all fraud.

      27.    The 1Q21 Report contained the following financial statements:




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      28.    On August 13, 2021, the Company filed with the SEC its quarterly

report for the period ended June 30, 2021 (the “2Q21 Report”) signed by

Defendants Taylor and Li. Attached to the 2Q21 Report were certifications

pursuant to SOX signed by Defendants Taylor and Li attesting to the accuracy of

financial reporting, the disclosure of any material changes to the Company’s

internal control over financial reporting and the disclosure of all fraud.

      29.    The 2Q21 Report contained the following financial statements:




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      30.   The 2Q21 Report stated the following, in relevant part, regarding

Defendant Luo’s dealings:


       On June 23, 2021, an entity controlled by Jason Luo sold 6,097
       common shares of ELM [Electric Last Mile, In.] back to ELM
       for the original purchase price of $10.00 per share or a total of
       $61 thousand, prior to and in connection with the issuance of
       5,000,000 shares of the Company's common stock to SERES
       upon the closing of the Business Combination pursuant to the
       SERES Asset Purchase Agreement. This transaction was
       presented in the condensed consolidated statement of changes
       in shareholders’ equity (deficit) retroactively applying the
       exchange ratio from the Business Combination.


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      31.    On November 12, 2021, the Company filed with the SEC its quarterly

report for the period ended September 30, 2021 (the “3Q21 Report”) signed by

Defendants Taylor and Song. Attached to the 3Q21 Report were certifications

pursuant to SOX signed by Defendants Taylor and Song attesting to the accuracy

of financial reporting, the disclosure of any material changes to the Company’s

internal control over financial reporting and the disclosure of all fraud.

      32.    The 3Q21 Report contained the following financial statements:




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      33.   The statements contained in ¶¶ 20-32 were materially false and/or

misleading because they misrepresented and failed to disclose the following

adverse facts pertaining to the Company’s business, operations and prospects,

which were known to Defendants or recklessly disregarded by them. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that:

(1) ELMS’s previously issued financial statements were false and unreliable; (2)

ELMS’s earlier reported financial statements would need restatement; (3) certain


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EMLS executives and/or directors purchased equity in the Company at substantial

discounts to market value without obtaining an independent valuation; (4) on

November 25, 2021 (Thanksgiving), the Company’s Board formed an independent

Special Committee to conduct an inquiry into certain sales of equity securities

made by and to individuals associated with the Company; and (5) as a result,

Defendants’ statements about its business, operations, and prospects, were

materially false and misleading and/or lacked a reasonable basis at all relevant

times.

                               THE TRUTH EMERGES

         34.   On February 1, 2022, after trading hours, the Company issued a press

release entitled “Electric Last Mile Solutions Announces Leadership Transition

and Financial Update” which announced changes to is leadership and that certain

of its financial statements needed restatement, stating the following, in relevant

part:


          Transition Follows Resignation of CEO and President James
          Taylor and Chairman Jason Luo
          Company Advises Non-Reliance on Financial Statements,
          Which Will be Restated
          Electric Last Mile Solutions, Inc. (Nasdaq: ELMS; ELMSW)
          (“ELMS” or “the Company”), a pioneer of electric and
          intelligent mobility solutions for commercial vehicle customers,
          today announced that Shauna McIntyre, a member of the
          Company’s Board of Directors, has been appointed as Interim
          Chief Executive Officer and President, succeeding James


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  Taylor, who has resigned from his role as Chief Executive
  Officer and a member of the Board. In addition, Brian Krzanich
  has been appointed Non-Executive Chairman of the Board,
  replacing Jason Luo, who has also resigned from his position
  as Executive Chairman of the Board. The departures follow an
  investigation conducted by a Special Committee of the Board of
  Directors (the “Special Committee”).
  On November 25, 2021, the Company’s Board formed an
  independent Special Committee to conduct an inquiry into
  certain sales of equity securities made by and to individuals
  associated with the Company, the legal, disclosure and tax
  consequences of those transactions, and other issues that arose
  in connection those sales. Based on the Special Committee’s
  investigation, the Company has concluded that in November
  and December 2020, shortly before the Company’s December
  10, 2020 announcement of a definitive agreement for a business
  combination with Forum Merger III Corporation, certain
  Electric Last Mile Inc. executives purchased equity in the
  Company at substantial discounts to market value without
  obtaining an independent valuation. Mr. Taylor purchased
  equity in these transactions. Mr. Luo participated in these and
  other transactions and directly or indirectly purchased and sold
  equity in such transactions.
  In addition, on January 26, 2022, on the basis of the Special
  Committee investigation, the Board concluded that the
  Company’s previously issued consolidated financial statements
  should be restated and, therefore, should no longer be relied
  upon. The financial statements in question cover the period as
  of December 31, 2020, the period from August 20, 2020
  (inception) through December 31, 2020, the six months ended
  June 30, and the nine months ended September 30, 2021. In
  connection with this conclusion, the Company, together with its
  advisors, is evaluating the accounting and treatment of certain
  equity issuances to executive officers. Although the Company
  cannot, at this time, estimate when it will file its restated
  financial statements for such periods, it is diligently pursuing
  completion of the restatement, including with respect to an
  evaluation of the Company’s financial statement reserves for
  tax payments and contingencies.

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        (Emphasis added.)
      35.    On this news, the Company’s share price fell $2.88 per share, or 51%,

to close at $2.71 per share on February 2, 2022, the next trading day, on unusually

heavy trading volume, damaging investors.

      36.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

                       UNDISCLOSED ADVERSE FACTS

      37.    The market for ELMS securities was open, well-developed and

efficient at all relevant times. As a result of these materially false and/or

misleading statements, and/or failures to disclose, ELMS securities traded at

artificially inflated prices during the Class Period. Plaintiff and other members of

the Class purchased or otherwise acquired ELMS and/or FIIU securities relying

upon the integrity of the market price and market information relating to ELMS

and have been damaged thereby.

      38.    During the Class Period, Defendants materially misled the investing

public, thereby inflating the price of ELMS securities, by publicly issuing false

and/or misleading statements and/or omitting to disclose material facts necessary

to make Defendants’ statements, as set forth herein, not false and/or misleading.

These statements and omissions were materially false and/or misleading in that



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they failed to disclose material adverse information and/or misrepresented the truth

about ELMS’s business, operations, and prospects as alleged herein.

      39.    At all relevant times, the material misrepresentations and omissions

particularized in this Complaint directly or proximately caused, or were a

substantial contributing cause, of the damages sustained by Plaintiff and other

members of the Class. As described herein, during the Class Period, Defendants

made, or caused to be made a series of materially false and/or misleading

statements about ELMS’s financial well-being and prospects. These material

misstatements and/or omissions had the cause and effect of creating in the market

an unrealistically positive assessment of the Company and its financial well-being

and prospects, thus causing the Company’s securities to be overvalued and

artificially inflated at all relevant times. Defendants’ materially false and/or

misleading statements during the Class Period resulted in Plaintiff and other

members of the Class purchasing the Company’s securities at artificially inflated

prices, thus causing the damages complained of herein.

                    ADDITIONAL SCIENTER ALLEGATIONS

      40.    During the Class Period, as alleged herein, the Individual Defendants

acted with scienter in that the Individual Defendants knew or were reckless as to

whether the public documents and statements issued or disseminated in the name

of the Company during the Class Period were materially false and misleading;



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knew or were reckless as to whether such statements or documents would be issued

or disseminated to the investing public; and knowingly and substantially

participated or acquiesced in the issuance or dissemination of such statements or

documents as primary violations of the federal securities laws.

      41.    The Individual Defendants permitted ELMS to release these false and

misleading statements and failed to file the necessary corrective disclosures, which

artificially inflated the value of the Company’s securities.

      42.    As set forth herein, the Individual Defendants, by virtue of their

receipt of information reflecting the true facts regarding ELMS, their control over,

receipt, and/or modification of ELMS’s allegedly materially misleading statements

and omissions, and/or their positions with the Company that made them privy to

confidential information concerning ELMS, participated in the fraudulent scheme

alleged herein.

      43.    The Individual Defendants are liable as participants in a fraudulent

scheme and course of conduct that operated as a fraud or deceit on purchasers of

ELMS and/or FIIU securities by disseminating materially false and misleading

statements and/or concealing material adverse facts. The scheme deceived the

investing public regarding ELMS’s business, operations, and management and the

intrinsic value of ELMS securities and caused Plaintiff and members of the Class

to purchase ELMS and/or FIIU securities at artificially inflated prices.


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                      LOSS CAUSATION/ECONOMIC LOSS

      44.    During the Class Period, as detailed herein, ELMS and Individual

Defendants made false and misleading statements and engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the prices of

ELMS securities, and operated as a fraud or deceit on Class Period purchasers of

ELMS and/or FIIU securities by misrepresenting the value and prospects for the

Company’s business, growth prospects, and accounting compliance. Later, when

Defendants’ prior misrepresentations and fraudulent conduct were disclosed to the

market, the price of ELMS securities fell precipitously, as the prior artificial

inflation came out of the price. As a result of their purchases of ELMS and/or

FIIU securities during the Class Period, Plaintiff and other members of the Class

suffered economic loss, i.e., damages, under the federal securities laws.

   APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD ON THE
                          MARKET
      45.    To the extent that the Defendants concealed or improperly failed to

disclose material facts with regard to the Company, Plaintiff is entitled to a

presumption of reliance in accordance with Affiliated Ute Citizens v. United States,

406 U.S. 128, 153 (1972).

      46.    Further, Plaintiff will rely upon the presumption of reliance

established by the fraud-on-the-market doctrine in that, among other things:




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             (a)    Defendants made public misrepresentations or failed to disclose

material facts during the Class Period;

             (b)    the omissions and misrepresentations were material;

             (c)    the Company’s securities traded in an efficient market;

             (d)    the misrepresentations alleged would tend to induce a

reasonable investor to misjudge the value of the Company’s securities; and

             (e)    Plaintiff and other members of the Class purchased ELMS

and/or FIIU securities between the time Defendants misrepresented or failed to

disclose material facts and the time the true facts were disclosed, without

knowledge of the misrepresented or omitted facts.

      47.    At all relevant times, the market for ELMS securities was efficient for

the following reasons, among others:

             (a)    as a regulated issuer, ELMS filed periodic public reports with

the SEC;

             (b)    ELMS regularly communicated with public investors via

established market communication mechanisms, including through regular

disseminations of press releases on the major news wire services and through other

wide-ranging public disclosures, such as communications with the financial press,

securities analysts, and other similar reporting services;




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             (c)    ELMS was followed by several securities analysts employed by

major brokerage firm(s) who wrote reports that were distributed to the sales force

and certain customers of their respective brokerage firm(s) and that were publicly

available and entered the public marketplace; and

             (d)    ELMS securities were actively traded on NASDAQ.

      48.    As a result of the foregoing, the market for ELMS securities promptly

digested current information regarding ELMS from all publicly available sources

and reflected such information in ELMS’s price. Under these circumstances, all

purchasers of ELMS securities during the Class Period suffered similar injury

through their purchase at artificially inflated prices and the presumption of reliance

applies.

                                 NO SAFE HARBOR

      49.    The statutory safe harbor provided for forward-looking statements

under certain circumstances does not apply to any of the allegedly false statements

pleaded in this Complaint. The statements alleged to be false and misleading herein

all relate to then-existing facts and conditions. In addition, to the extent certain of

the statements alleged to be false may be characterized as forward looking, they

were not identified as “forward-looking statements” when made and there were no

meaningful cautionary statements identifying important factors that could cause

actual results to differ materially from those in the purportedly forward-looking



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statements. In the alternative, to the extent that the statutory safe harbor is

determined to apply to any forward-looking statements pleaded herein, Defendants

are liable for those false forward-looking statements because at the time each of

those forward-looking statements were made, the speaker had actual knowledge

that the forward-looking statement was materially false or misleading, and/or the

forward-looking statement was authorized or approved by an executive officer of

Concho who knew that the statement was false when made.

                 PLAINTIFF’S CLASS ACTION ALLEGATIONS

      50.    Plaintiff brings this action as a class action pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other

than defendants who acquired ELMS and/or FIIU securities publicly traded on

NASDAQ during the Class Period, and who were damaged thereby (the “Class”).

Excluded from the Class are Defendants, the officers and directors of the

Company, members of the Individual Defendants’ immediate families and their

legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

      51.    The members of the Class are so numerous that joinder of all

members is impracticable. Throughout the Class Period, ELMS securities were

actively traded on NASDAQ. While the exact number of Class members is

unknown to Plaintiff at this time and can be ascertained only through appropriate



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discovery, Plaintiff believes that there are hundreds, if not thousands of members

in the proposed Class.

      52.    Plaintiff’s claims are typical of the claims of the members of the Class

as all members of the Class are similarly affected by Defendants’ wrongful

conduct in violation of federal law that is complained of herein.

      53.    Plaintiff will fairly and adequately protect the interests of the

members of the Class and has retained counsel competent and experienced in class

and securities litigation. Plaintiff has no interests antagonistic to or in conflict with

those of the Class.

      54.    Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting individual members of

the Class. Among the questions of law and fact common to the Class are:

             •        whether the Exchange Act was violated by Defendants’ acts as
                      alleged herein;

             •        whether statements made by Defendants to the investing public
                      during the Class Period misrepresented material facts about the
                      business and financial condition of the Company;

             •        whether Defendants’ public statements to the investing public
                      during the Class Period omitted material facts necessary to
                      make the statements made, in light of the circumstances under
                      which they were made, not misleading;

             •        whether the Defendants caused the Company to issue false and
                      misleading filings during the Class Period;

             •        whether Defendants acted knowingly or recklessly in issuing


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                    false filings;

              •     whether the prices of ELMS securities during the Class Period
                    were artificially inflated because of the Defendants’ conduct
                    complained of herein; and

              •     whether the members of the Class have sustained damages and,
                    if so, what is the proper measure of damages.

      55.     A class action is superior to all other available methods for the fair

and efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to

them. There will be no difficulty in the management of this action as a class action.

                                       COUNT I

                    For Violations of Section 10(b) And Rule 10b-5
                   Promulgated Thereunder Against All Defendants

      56.     Plaintiff repeats and realleges each and every allegation contained

above as if fully set forth herein.

      57.     This Count is asserted against Defendants is based upon Section 10(b)

of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder

by the SEC.

      58.     During the Class Period, Defendants, individually and in concert,

directly or indirectly, disseminated or approved the false statements specified

above, which they knew or deliberately disregarded were misleading in that they

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contained misrepresentations and failed to disclose material facts necessary in

order to make the statements made, in light of the circumstances under which they

were made, not misleading.

        59.   Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that

they:

        •     employed devices, schemes and artifices to defraud;

        •     made untrue statements of material facts or omitted to state material
              facts necessary in order to make the statements made, in light of the
              circumstances under which they were made, not misleading; or

        •     engaged in acts, practices and a course of business that operated as a
              fraud or deceit upon plaintiff and others similarly situated in
              connection with their purchases of the Company’s securities during
              the Class Period.
        60.   Defendants acted with scienter in that they knew that the public

documents and statements issued or disseminated in the name of the Company

were materially false and misleading; knew that such statements or documents

would be issued or disseminated to the investing public; and knowingly and

substantially participated, or acquiesced in the issuance or dissemination of such

statements or documents as primary violations of the securities laws. These

defendants by virtue of their receipt of information reflecting the true facts of the

Company, their control over, and/or receipt and/or modification of the Company’s

allegedly materially misleading statements, and/or their associations with the




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Company which made them privy to confidential proprietary information

concerning the Company, participated in the fraudulent scheme alleged herein.

       61.    Individual Defendants, who are or were senior executives and/or

directors of the Company, had actual knowledge of the material omissions and/or

the falsity of the material statements set forth above, and intended to deceive

Plaintiff and the other members of the Class, or, in the alternative, acted with

reckless disregard for the truth when they failed to ascertain and disclose the true

facts in the statements made by them or other ELMS personnel to members of the

investing public, including Plaintiff and the Class..

       62.    As a result of the foregoing, the market price of ELMS securities was

artificially inflated during the Class Period. In ignorance of the falsity of

Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of ELMS

securities during the Class Period in purchasing ELMS securities at prices that

were artificially inflated as a result of Defendants’ false and misleading statements.

       63.    Had Plaintiff and the other members of the Class been aware that the

market price of ELMS securities had been artificially and falsely inflated by

Defendants’ misleading statements and by the material adverse information which

Defendants did not disclose, they would not have purchased Company securities at

the artificially inflated prices that they did, or at all.


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         64.   As a result of the wrongful conduct alleged herein, Plaintiff and other

members of the Class have suffered damages in an amount to be established at

trial.

         65.   By reason of the foregoing, Defendants have violated Section 10(b) of

the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to the Plaintiff

and the other members of the Class for substantial damages which they suffered in

connection with their purchase of ELMS securities during the Class Period.

                                      COUNT II

                     Violations of Section 20(a) of the Exchange Act
                           Against the Individual Defendants
         66.   Plaintiff repeats and realleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

         67.   During the Class Period, the Individual Defendants participated in the

operation and management of the Company, and conducted and participated,

directly and indirectly, in the conduct of the Company’s business affairs. Because

of their senior positions, they knew the adverse non-public information about the

Company’s misstatement of revenue and profit and false financial statements.

         68.   As officers of a public business, the Individual Defendants had a duty

to disseminate accurate and truthful information with respect to the Company’s

financial condition and results of operations, and to correct promptly any public




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statements issued by the Company which had become materially false or

misleading.

      69.     Because of their positions of control and authority as senior

executives and/or directors, the Individual Defendants were able to, and did,

control the contents of the various reports, press releases and public filings which

the Company disseminated in the marketplace during the Class Period concerning

the Company’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause the Company to engage in

the wrongful acts complained of herein. The Individual Defendants therefore, were

“controlling persons” of the Company within the meaning of Section 20(a) of the

Exchange Act. In this capacity, they participated in the unlawful conduct alleged

which artificially inflated the market price of Company securities.

      70.     By reason of the above conduct, the Individual Defendants are liable

pursuant to Section 20(a) of the Exchange Act for the violations committed by the

Company.

                               PRAYER FOR RELIEF

      WHEREFORE, plaintiff, on behalf of himself and the Class, prays for

judgment and relief as follows:

              (a)   declaring this action to be a proper class action, designating

plaintiff as Lead Plaintiff and certifying plaintiff as a class representative under



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Rule 23 of the Federal Rules of Civil Procedure and designating plaintiff’s counsel

as Lead Counsel;

             (b)   awarding damages in favor of plaintiff and the other Class

members against all defendants, jointly and severally, together with interest

thereon;

             (c)   awarding plaintiff and the Class reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

             (d)   awarding plaintiff and other members of the Class such other

and further relief as the Court may deem just and proper.

                            JURY TRIAL DEMANDED
      Plaintiff hereby demands a trial by jury.


Dated: April 4, 2022                   Labaton Sucharow LLP

                                       /s/ Joseph N. Cotilletta (047092011)
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                               Additional Counsel for Plaintiff




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                                          CERTIFICATION

        I, Pierre Fontaine, hereby certify as follows:


        1.      I have reviewed a complaint filed against Electric Last Mile Solutions, Inc. f/k/a

Forum Merger III Corp. (“ELMS”) alleging violations of the federal securities laws, and authorize

the filing of this pleading;

        2.      I did not purchase securities of ELMS at the direction of counsel, or in order to

participate in any private action under the federal securities laws;

        3.      I am willing to serve as a lead plaintiff and representative party in this matter,

including providing testimony at deposition and trial, if necessary. I fully understand the duties and

responsibilities of the lead plaintiff under the Private Securities Litigation Reform Act, including the

selection and retention of counsel and overseeing the prosecution of the action for the Class;

        4.      My transactions in ELMS securities during the Class Period are reflected in Exhibit

A, attached hereto;

        5.      I have not sought to serve as a lead plaintiff and/or representative party in any class

action under the federal securities laws filed during the last three years;

        6.      Beyond my pro rata share of any recovery, I will not accept payment for serving as a

lead plaintiff and representative party on behalf of the Class, except the reimbursement of such

reasonable costs and expenses (including lost wages) as ordered or approved by the Court.
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        I declare under penalty of perjury, under the laws of the United States, that the foregoing is
                        
true and correct this            day of                , 2022.


                                                       ____________________________________
                                                       Pierre Fontaine




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                                  EXHIBIT A

     TRANSACTIONS IN ELECTRIC LAST MILE SOLUTIONS, INC.

  Transaction Type   Trade Date      Shares   Price Per Share Cost/Proceeds
  Purchase            1/4/2021       10,000            $14.35 ($143,500.00)
